   Case 2:19-cr-00134-MHT-JTA Document 116 Filed 12/29/20 Page 1 of 1



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
     v.                            )          2:19cr134-MHT
                                   )               (WO)
BOBBY TURNER                       )

                                ORDER

    Based on the representations made on the record on

December   29,    2020,     including      that     defendant      Bobby

Turner is now deceased, it is ORDERED that the judgment

of conviction (doc. no. 106) is vacated, the indictment

(doc. no. 1) is dismissed, this case is dismissed, and

defendant Bobby Turner is discharged.

    DONE, this the 29th day of December, 2020.

                                     /s/ Myron H. Thompson____
                                  UNITED STATES DISTRICT JUDGE
